      Case 2:17-cv-01526-MCE-GGH Document 20 Filed 06/29/18 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA



TWIN SISTERS GUN CLUB, an                            Case No: 2:17-cv-01526-MCE-GGH
Unincorporated Association, and
THOMAS BOCK,                                         ORDER EXTENDING TIME TO
                                                     COMPLETE DISCOVERY
                     Plaintiffs,
     v.
WILLIAM F. EMLEN, MINH C. TRAN,
COUNTY OF SOLANO, and DOES 1-10,
                     Defendants.



          Pursuant to the Court’s pretrial scheduling order, the deadline to complete discovery in this
matter was set for 365 days after the date the matter was opened – or, in this case, July 21, 2018.
(ECF No. 3.) However, on August 24, 2017, defendants filed a Motion to Dismiss Plaintiffs’
Complaint. (ECF No. 9.) On the Court’s own motion, the Motion to Dismiss was submitted
without oral argument. (ECF No. 14.)
          The Court issued its order, granting in part and denying in part, defendants’ Motion to
Dismiss, on March 14, 2018. (ECF No. 16.) The remaining defendants, County of Solano and
William F. Emlen, answered plaintiffs’ Complaint on April 12, 2018. (ECF No. 17.) Accordingly,
this matter was not fully at issue until April 12, 2018, and discovery did not begin until that time.
          Based on the pretrial scheduling order, and the delay in resolving defendants’ Motion to
Dismiss, the parties have a limited timeframe to complete discovery in this matter. The parties
     Case 2:17-cv-01526-MCE-GGH Document 20 Filed 06/29/18 Page 2 of 2



have stipulated to an extension of time until December 31, 2018 to complete discovery.

       IT IS HEREBY ORDERED that the discovery deadline currently set for July 21, 2018 be

continued to December 31, 3018.
       IT IS SO ORDERED.

Dated: June 28, 2018
